Case: 1:13-cv-04149 Document #: 1 Filed: 06/04/13 Page 1 of 19 PagelD #:1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS.
EASTERN DIVISION |

CHAkees Datel

 

 

' (Enter above the full name
of the plaintiff or plaintiffs in
this action) -

VS.

_ Anke. ~ AMADA CHEVLIA)

86.7. Park

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| COMES tor/ ( OE; HC. )

 

 

(Enter above the full name of ALL
defendants in this action. Do not 7

Do not
use “et.al.")
CHECK ONE ONLY: »

13CV4149
JUDGE KOCORAS
MAGISTRATE COX

Case No: .

RECEIVED |
Tun 4, 2013
JUN 4 2073

| MP

THOMAS G BRUTON
QLERK, U 8. DISTRICT COURT

(To be supplied by the Clerk of this Court)

<= COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983,

“US. Code (state, county, or municipal defendants).

COMPLAINT UNDER THE CONSTITUTION ("BIVENS"

28 SECTION 1331 U.S. Code (federal defendants)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER IO
FILING." FOLLOW THESE INSTR UCTIONS CAREFULLY. ©

OTHER (cite statute, if known)

ACTION), TITLE

"INSTRUCTIONS FOR
Case: 1:13-cv-04149 Document #: 1 Filed: 06/04/13 Page 2 of 19 PagelD #:1

 

Plaintiff(s):
A. Name: CHARLES ant els
B. List all aliases: NON E

 

C. _ Prisoner identification number: RO (0 ~ 08 © GL AK
D. Place of present confinement: Gok (oun TY JA CS “Dr r-/[O.
E. Address: 2.0. Box CF700.2, Gyeoo; ( L 60608

df there i 1s more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.

number, place of confinement, and current address according to the above format on a
separate sheet of paper.) -

Defendant(s):

' dn A below, place the full name of the first defendant in the first blank, his or her official

position in the second-blank, and his or her place of employment i in the third blank. Space
for two additional defendants is provided in B and C.) ;

A. Defendant: — LOR A/A. AMA COA ~ HEV rJ

Title: Assistant STATES A Tfoawey~ OnD6& Mew
Place of Employment: (0220 > LE, - Dist 5: briagei1e Sev (L-
B. Defendant: /k, OS Park
Title: Assistant Srares A Taney
“Place of Employment: [02 Ro J a c Dist. 5, ko sexien LL
C: Defendant: DA UE. Lxeten oy Meo Cmnssal- ci Ly OF CLICHE
. Tile, _SUERILOR ~ ~ AEN ae DNenevation) CELE R. _ -
Place of Employment: LEM W. Mabssonl , CHUNG 0, iC 6060 7

(If you have more than three defendants, then all additional defendants must be listed

~ according to the above format on a separate sheet of paper.)

2 Roviond 97007
 

1 ment #: 1 F 4/13 P PagelD #:1
| e.3 of 19 Page

9 Document #: 1 Filed: 06/04/13 Pag

? Z L -04 4 .

Case? 1:13-cv

    

        
 
 
   
  
    

ad VDags ALL lawsuits you (and your Co-plaintiffs, if any) have filed IM any state or federa}
Court in the United States:
A. Name of case and docket number: Law (Eks Vv by ASLiVG TO/Y
@ "L
B. Approximate date of filing lawsuit: VOvE A ie: G96
‘8 List al] Plaintiffs (if you had Co-plaintiffs), including any aliases: AO pyr
ip
E.
F.

G.

Disposition Of this case (for example: Was the Case dj
Is it stil] pending?): : MS/PTESS FD)

    
Case: 1:13-cv-04149 Document #: 1 Filed: 06/04/13 Page 4 of 19 PagelD #:1

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A. Daniels r Hust

 

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PRIOR LAWSUITS ~ CONT

 

Dawels v. TING |
DATE SUIT Fite) — AfRin 2546 20/3 |

Vo Poantitl othee than SELF ; ,
DR. ANDREW TING, SHERIFF BALDERAMO, SHERIFF /
CAPERS, TANE + Jouw Doe (MEDICAL (ECS jes),

 

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IV. | Statement of Claim:

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gq Revised 9/2007

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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Case: 1:13-cv-04149 Document #: 1 Filed: 06/04/13 Page 9 of 19 PagelD #:1 | 7
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Case: 1:13-cv-04149 Document #: 1 Filed: 06/04/13 Page 13 of 19 PagelD #:1

 

City of Chicago

Richard M. Daley, Mayor
Office of Emergency Management
and Communication

- Jose A. Santiago
Executive Director

1411 West Madison Street
Chicago, Hlinois 60607-1809
(312) 746-9111

(312) 746-9120 (FAX)

http://www.cityofchicago.org

NEIGHBORAOODS
chaoledits

ou ALDING CHICAGO TOGETHER

August 26, 2010

Charles Daniels
20100809144
P.O.Box 089002
Chicago, Illinois 60608

Re: arrest
Dear Charles Danie!s

On behalf of the Office of Emergency Management and Communications
(O.E.M ©.}, fam responding to your Freedom of Information (FOIA) request.
Plage fined thes requested event query énopse:, Me addifena! infeemation
was located. Calisr information is not released. Caller identification has
been redacted for the following reasons:

_(x) The requested information is exempt from disclosure pursuant to

5 ILCS 140/7(1)(b)(v) because it reveals the identity of the person
filing a complzint with or providing information to an administrative,
investigative, law enforcement or penal agency; and

(x) | The requested information is exempt from disclosure as an invasion
of personal privacy pursuant to 5 ILCS 140/7 (1}(b) and/or 5 ILCS
140/7(1)(c)(vi);

©.E.M.C. is not the keeper of records for ‘re Chicago Police Department.
Contact the CPD for camera footage, carnera locations and surveillance
footage, camera preservation, police reports, flash messages and
investigators reports. Under the Illinois Records Act, audio is retained tor
thirty days from the date of incident. It is not the responsibility and/or the

 

 

. function of this office to provide explanations of the events. Pleas«: contact

your Attorney or Law Department at your facility regarding questions
pertaining to the event query, criminal history and preliminary hearing
transcripts. No additional information is availabi= from this Office regarding
this matier, and any future corresponcence pertaining to this matter shail
not receive a response from this office.

Sincerely,

apes :
ee Ae

     

rj v
Mary Thompson
Freedorn of information Officer
Office of Emergency Manacement and Communications
City of Chicago

FA10-814

 
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STATE OF ILLINOIS )
COUNTY OF COOK )
CERTIFICATION
UNDER the penalty of perjury as provided by Law pursuant to Section 1-109
of Code of Civil Procedure, the undersigned certifies that the statements set forth

in this instrument are True and correct, except as to matters stated on belief and

information, and as to such matters, the undersigned certifies as aforesaid that

she believes the same to be true.

1. IT; BARBARA ALLEN have been aware of the Criminal Court proceeding's captioned as

# 09-CR-12798, Bridgeview Courthouse, for Defendant CHARLES DANIELS, since his

arrest in June 2009. I was made aware that the State's Attorney's office had given

to Attorney DENNIS H. SHERMAN, a disk of the Emergency incident recording that Charles

had asked me and family members to listen to for hin.

*”

2. Shortly after October 16,2010, I began making telephone calls attempting to schedul
an appointment and direction to the office of Attorney Sherman's located at
150 North Wacker Dr., Chicago, IL. I drove passenger Deborah Cook-Daniels and her

grandson downtown to his office. ‘We tried to listen to the 9-1-1 disk, but NOTHING

was on it.

“spp gave the CD disk immediately back to Attorney Sherman and he let me know that
he would take care of everything and get another copy from the prosecutor's office.

I have not heard back from Attorney Sherman since this incident.

DATED: /- 23-Q0/3 Batharte Welew

/ Barbara Allen

 

  
    
  

( Telephone—
Mugen Aon ubscribed and sworn to vetore me
“OBFICIAL SEAL’ ; °
JUWANDA WATSON thi day of AMUIS 2

     

Notary Public, S¢ ino} : j
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Commission No, 6

 
Case: 1:13-cv-04149 Document #: 1 Filed: 06/04/13 Page 15 of 19 PagelD #:1

2 TAPE RESEARCH LOG

. Date: |O Avg ZolO . Machine #: __. Subpoena #: OOS .
Incident pate: (4 JoneZ X97 C.R.#: - R.D.#(8): a 3S 3950
Incident: Ruealo | Location: boo lw g7m St

   

Track Highlights of recorded segment: 9-1-1
Mach. Startin Endin Taped calls, Inter-coms, Radio Transmissions
Time Time by: Flash Messages, etc.

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STATE OF ILLINOIS)
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~--- COUN TY--OF COOK — i rn 8 err

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT-CRIMINAL DIVISION

THE PEOPLE OF THE )
STATE OF ILLINOIS,)
Plaintiff,)

)
vs. ) No. 09 CR 12798
) 10 CR 14820
CHARLES DANIELS, )
)

Defendant.

_REPORT OF PROCEEDINGS had at the hearing of

the above-entitled cause, before the Honorable

WILLIAM J. KUNKLE, one of the Judges of said ©

District, on the 20th day of September, 2010.

APPEARANCES :

HON. ANITA M. ALVAREZ,
State's Attorney of Cook County, by:
MS. LORNA AMADO-CHEVLIN,
Assistant State's Attorney,
appeared for the People;

MR._DENNIS SHERMAN ,
appeared for the Defendant.

 

 

Jean M. Salerno

CSR #084-002821

10220 S. 76th Avenue
Bridgeview, IL 60455
Case: 1:13-cv-04149 Document #: 1 Filed: 06/04/13 Page 17 of 19 PagelD #:1

THE CLERK: Charles Daniels. Custody.

 

1
2 Liles.
3 MR. SHERMAN: For the record my name is Dennis
4 Sherman. I represent Mr. Charles Daniels on the
5 09 CR 12798 matter. I am filing my appearance on
6 the new burglary charge; 10 CR 14820.
7 | MS. AMADO-CHEVLIN: On the '09, we did tender
8 ~additional discovery. a
9 MR. SHERMAN: Acknowledge receipt.
10 MS. AMADO-CHEVLIN: 911 which was outstanding
11 and it wasn't brought to the Court's attention.
12 THE COURT: Hang on. Hang on. On 2798, you're
‘13 filing something. '09?
14 MS. AMADO-CHEVLIN: Yes.
15 THE COURT: You're filing --
16 MS. AMADO-CHEVLIN: 09 12798, the State did
17 tender additional discovery including the 911.
18 MR. SHERMAN: That's what kept this pending.
2190S... AMADO-CHEVLIN: CD which was pending. |
20 THE COURT: State tendered additional discovery
21 including 911 tape. |
22 Now, on this new one, I need the
23 Indictment or the Information.
24 MR. SHERMAN: The Public Defender gave it to
 

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STATE OF ILLINOIS)
)SS

COUNTY OF COOK )

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT-CRIMINAL DIVISION

THE PEOPLE OF THE )

STATE OF ILLINOIS, )
Plaintiff, )

Nos. 09-CR-12798

)
vs. )
) 10-CR-14820
)
)

CHARLES DANIELS,
Defendant.

REPORT OF PROCEEDINGS had at,the hearing

of the above-entitled cause, before the Honorable

WILLIAM J. KUNKLE, one of the Judges of said

District, on the 13th day of May, 2011.

“APPEARANCES:

HON. ANITA M. ALVAREZ,
State's Attorney of Cook County, by:

MR. B. J. PARK,
Assistant State's Attorney,
appeared for the People;

MR. DENNIS SHERMAN,
appeared for the Defendant.

Elizabeth A. Proietti
CSR #084-002544

10220 S. 76th Avenue
Bridgeview, IL 60455
 

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THE CLERK: Charles Daniels.

THE SHERIFF: Charles Daniels.

MR. SHERMAN: For the record, my name is

Dennis Sherman. I represent Mr. Charles Daniels.

THE COURT: Okay, we've got 09 CR 12798, which

is the elected case.

MR. PARK: Yes, we were waiting for the 911

a a

tape, and we just gave the disk over now.

THE COURT: Now, are those on this case, or on

the other case?

MR. SHERMAN: No, this case.

MR. PARK: That's on this case, the elected

one.

THE. COURT: Oh, this case, the 911 tape?

MR. SHERMAN: Yes. Not bad, two years

afterwards.
MR. PARK: Stop it.
MR. SHERMAN: Okay.
Um, I'll.take one final status date, then we

can set it down for trial. How is, um, the 8th of

June?

THE COURT: 6-8-11, final status to set. And
that's on the elected case, which is the 09 case.

And on the 2010 case, it will be a by agreement
